Case 2:05-cv-02334-BBD-dkv Document 11 Filed 08/15/05 Page 1 of 3 Page|D 21

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WESTERN DISTRICT oF TENNESSEE m 0 1 ULD
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W,'D OF TN, MEMPHlS
sHELBY COUNTY HEALTH CARE
CoRPoRATIoN d/b/a REGIONAL
MEDICAL CENTER
Plaintiff, Case No. 2:05cv2334 D!V
V.

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)

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)

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)

)

UNIVERSAL UNDERWRITERS )
INSURANCE COMPANY )
)

Defendant and Third Party )

Plaintiff )

)

)

)

)

)

DAVID REES, ESQ., individually and The
REES LAW FIRM, P.A.

Third Party Defendants.

 

ORDER DENYING DEFAULT JUDGMENT

 

Third Party Plaintiff, Universal Underwriters Insurance Company by and through
Counsel, submitted motion for default judgment against Defendants David Rees, Esq., individually
and The Rees Law Firm, P.A. As grounds, Plaintiff states that Defendant(s) has failed to answer/
plead to complaint

Entry of Default may be entered When party Whom a judgment is sought has failed to plead

or otherwise provided and fact is made to appear by affidavit or otherwise FRCVP 55 (a)

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Default Judgment is therefore DENIED as there has been no Entry of Default as to the
Defendant(s).

Entered this 15th day of August, 2005.

THOMAS M. GOULD
Clerko Court

MMA//

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Notice of Distribution

This notice confirms a copy ofthc document docketed as number 11 in
case 2:05-CV-02334 Was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listcd.

ESSEE

 

Jirnmy Moore

CIRCUIT COURT, 30TH JUDICIAL DISTRICT

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Honorable Bernice Donald
US DISTRICT COURT

